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                      IN THE UNITED STATES DISTRICT COURT

                    FOR THE WESTERN DISTRICT OF WISCONSIN

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

UNITED STATES OF AMERICA,
                                                                 ORDER
                              Plaintiff,

    v.                                                           06-cr-126-bbc

TIMOTHY CLARK

                              Defendant.

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

         Defendant Timothy has filed a timely motion for reconsideration of the denial of his

motion for relief pursuant to 18 U.S.C. § 3582. I will deny the motion for reconsideration

because I am not persuaded that it was error to dismiss defendant’s motion.

                                           ORDER

         IT IS ORDERED that defendant Timothy Clark’s motion for reconsideration is

DENIED.



         Entered this 20th day of January, 2009.

                                            BY THE COURT:
                                            /s/
                                            BARBARA B. CRABB
                                            District Judge




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